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                                                          April 14, 2022


       Via ECF
       Honorable Matthew J. Skahill, U.S.M.J.
       Mitchell H. Cohen Building
       & U.S. Courthouse
       4th & Cooper Streets
       Camden, NJ 08101


                           RE:      Levins v. Healthcare Revenue Recovery Group, LLC
                                    Docket No.: 1:17-cv-928-RBK-KMW
                                    Our File No.: 447-102973(SXK/CMS)


       Dear Judge Skahill:

               I represent Defendant in this matter. On March 24, 2022, the Court entered an Order
       requiring HRRG to produce four additional categories of information in the class spreadsheet
       previously provided. Specifically, Defendant was ordered to produce (1) the full name appearing
       as the “RP” in the DEBTOR section (indicating the party responsible for the debt); (2) the data
       populating the “Clnt” field (indicating the identity of the creditor to whom the debt is owed); (3)
       the date and time for each call during the relevant time period; and, (4) the telephone number
       reported for each call during the relevant time period.

               As it relates to number 3, the undersigned filed a letter on April 7, 2022 requesting
       reconsideration of the Court’s Order. (ECF #105 requesting reconsideration of ECF #104). If this
       Order is not amended as requested in ECF #105, Defendant respectfully requests a brief extension
       of time to respond to request number 3. As indicated previously, HRRG’s IT resources are very
       limited. The production of documents/information responsive to request number 3 would take in
       excess of 40 hours to prepare because manual intervention is required to obtain call logs.

              HRRG estimates that it could not comply with this discovery request before the April 20,
       2022 deadline. Instead, Defendant respectfully requests an extension of this deadline to May 6,
       2022. Further, in fairness to Plaintiffs’ required class certification deadline, Defendant also
       requests an extension of the class certification deadline to June 6, 2022.
       {NJ312554.1}
            Philadelphia          Pittsburgh    Westchester County   Wilmington   Towson      New York
           Pennsylvania          Pennsylvania       New York          Delaware    Maryland    New York
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        Plaintiffs’ counsel, Philip Stern, Esq., consents to this request for a brief extension of
 deadlines. Thank you in advance for Your Honor’s consideration in this matter.


                                                Respectfully submitted,

                                                MARKS, O’NEILL, O’BRIEN,
                                                DOHERTY & KELLY, P.C.

                                                /s/ Jonathan R. Stuckel_____
                                                Christian M. Scheuerman, Esquire
                                                Jonathan R. Stuckel, Esquire
 CMS/emm
 cc:   Philip Stern, Esquire




 {NJ312554.1}
